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                          UNITED STATES DISTRICT
                         COURT NORTHERN DISTRICT
                               OF GEORGIA


UNITED STATES OF AMERICA )
                         )
         v.              )
                         ) Criminal No. 1:16-cr-00051-TWT-JSA
CLIFFORD WAYNE HILL,     )
                         )
              Defendant. )
                         )


                    MOTION FOR WITHDRAWAL AND
                    SUBSTITUTION OF GOVERNMENT
                       ATTORNEYS OF RECORD

      COMES NOW, the United States, by and through counsel, and files this

Motion for Withdrawal as Government Attorneys of Record and Substitution of

Lead Government Attorney of Record.

      United States respectfully moves to withdraw Attorneys Mary N. Strimel,

Eric Meiring, and Brent Snyder from the above-captioned case because they are

no longer assigned to this criminal matter.

      Additionally, the United States gives notice of appearance of Attorney

Jennifer C. Jones from the Antitrust Division of the United States Department of

Justice. Ms. Jones will replace Eric Meiring as lead Government Attorney of
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Record and should be noticed for all pleadings.

      The withdrawal and substitution will not delay or interrupt the orderly

operation of the court.

      Respectfully submitted this 13th day of January, 2017.

                                     /s/ Eric M. Meiring
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                                     /s/ Jennifer C. Jones
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                                     /s/ Mary N. Strimel
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                                     /s/ Brent Snyder
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           CERTIFICATE OF FONT AND POINT SELECTION


      Pursuant to Local Rule 7.1D, I hereby certify that the foregoing Notice has

been prepared with one of the font and point selections approved by the Court in

Local Rules 5.1B and 5.1C.




                                        /s/ Eric M. Meiring
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                         CERTIFICATE OF SERVICE

      This is to certify that the undersigned has this date electronically filed the

foregoing Notice with the Clerk of the Court using the CM/ECF system which will

automatically send email notification of such filing to the following attorney of

record:

                                 Defense Counsel
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